
In re: State of Louisiana applying for writ of certiorari. Parish of Tangipahoa.
Granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a Writ of Certiorari issue herein, directing the Honorable Gordon E. Causey, Judge of the 21st Judicial District Court, for the Parish of Tangipa-hoa, to transmit to the Supreme Court of Louisiana, on or before the 31st day of March, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
*940It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be fixed by this court, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
